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         EXHIBIT B TO SPITZER
            DECLARATION
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                                   FIREARM HARDWARE RESTRICTIONS TABLE
                                           (YEARS OF ENACTMENT)
 STATE           TRAP       CONCEALED    OPEN/         AUTOMATIC      SEMI­     AMMUNITION
                 GUNS   1   CARRY        ANY           FIREARMS       AUTOMATIC FEEDING
                            RESTRICT2    CARRY                        FIREARMS  DEVICES/
                                         BARRED                                 FIRING
                                                                                LIMITS
Alabama                     1839, 1841   1837
Alaska                      1896
Arizona                     1889         1867, 1889,
                                         1901
Arkansas                    1820,1837    1875, 1881
California                  1850, 1864   1861, 1878,   1927, 1933                 1927, 1933
                                         1917
Colorado                    1862
Connecticut                 1890, 1923   1890
Delaware                    1852                       1931
District of
                                         OO
                                         i/D
                                         OO




                            1857, 1871                 1932           1932        1932
Columbia
Florida                     1887         1838, 1868    19133, 1933
Georgia                     1837         1837, 1873
Hawaii                      1913         1852,1913     1933                       1933


1   Sometimes trap guns were also reterred to as internal machines.
2 These laws prohibited the concealed carrying of certain enumerated weapons or types of weapons. The early laws
restricted general weapons carrying, whether concealed or open.
3   “It shall, at any time, be unlawful to hunt wild game in Marion County with guns-known as Automatic guns.”
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Idaho                        1909




                                                                      +—
Illinois




                                                                       Cs
                                                                       CO
                         !   1881                       1931                        1931
Indiana                      1820                       1927, 1929
Iowa                         1882, 1887,                1927
                             1897, 1929
Kansas                       1901          1868,1881,   1933
                                           1899



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                                     CO
Kentucky




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Louisiana




                                                                       ON
                                                                       CO
                                                                       CN
                             1813          1870         1932                        1932
Maine                        1840
Maryland         1910        1872          1874,1886    1927
Massachusetts                1751          1891,1903,   1927         1927           1927
                                           1927
                             00
                             OO


Michigan
                             E>


                 1875,                     1927,1929    1927, 1929   1927, 1929     1927
                 1931
 Minnesota       1873,       1881                       1933         1933           1933, 1933
                 1903
                             00
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Mississippi
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Missouri                     1873          1923         1929                        1929
Montana                      1864, 1865
                             T—S
                             00
                             00




Nebraska                                   1872         1929
Nevada                       1881, 1925
New              1915
Hampshire
New Jersey       1771        1686          1871,1873    1927, 1934                  1920, 1927
New Mexico                   1852, 1853




4Chillicothe, Mo.: “George Dowell, a young farmer, was fined $50 under an old law for setting a trap-gun. Dowell
set the gun in his corn-crib to catch a thief, but his wife was the first person to visit the crib and on opening the
door was shot dead.” “ Shot by a Trap-Gun,” South Bend Tribune, Feb. 11, 1891, https://bit.lv/3CtZsflc.
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                  in
New York




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                   o
                          1891                               11931, 1933
North                     1792                                                                               1917
Carolina
North Dakota      1891,   1895                 1895              1931                                        1931
                  1895
 Ohio                     1859                                   1933                     1933               1933




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                              O'!
                              o
 Oklahoma                                      1890,1891
 Oregon           1925    1853                 1898,1917         1933                                        1933
 Pennsylvania             1851                 1851              1929                                        1929
 Rhode Island     1890,   1893                                   1927                     1927               1927
                  1892
                              OO
                              OO
                              O




                                                                                          Os
                                                                                          xh
 South




                                                                                          CO
                  1855,                        1901              1934                                        1934
 Carolina         1931.
 South Dakota     1909    1877                 1877              1933                     1933               1933
 Tennessee                1821                 1867,1869,
                                               1879,1881,
                                               1893
 Texas                    1870                 1871,1879,        1933                                        1933
                                               1879
 Utah             1865,   1877, 1888           1877
                  1901
 Vermont          1884,   1892,1895,           1895              1923                                        1923
                  1912    1897
 Virginia                 1794, 1838,                            1934                     1934               1934
                          1847,1870,
                          1877,1884,
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concluded that the burglar’s death was caused by the trap-gun. The article notes: “As there is a statute against the
use of such infernal machines, which might cause loss of life to some innocent person, the jury censured
Agostino.” After the verdict the man continued to be held under $2000 bail. “The Man Trap,” The Buffalo
Commercial, Nov. 1, 1870; from the N.Y. Standard, Oct. 29, 1870, https://bit.1v/3SDv2Nf.
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                        1887,1908




                        00
                        00
Washington      1909                                  1933                 1933
State
West Virginia           1870             1882,1891,   1925
                                         1925
Wisconsin       1872,   1858                          1929, 1933           1933
                1921
Wyoming                 1876             1893         1933
NUMBER
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                        50 (inc. D.C.)   30           32           8-11    23
OF STATES
NUMBER




                                                                   <N
                24      65               55           39                   26
OF LAWS
